Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 1 of 17 Page ID
                                 #:45856




               OCTOBER 29, 2021
                ORR JUVENILE
             COORDINATOR REPORT
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 2 of 17 Page ID
                                 #:45857



                             ORR JUVENILE COORDINATOR INTERIM REPORT

                                             October 29, 2021

                            Aurora Miranda-Maese, ORR Juvenile Coordinator


                                               Introduction

 In accordance with the April 24, 2020 Order, issued by The Honorable Dolly M. Gee of The United States
 District Court for the Central District of California, the undersigned ORR Juvenile Coordinator, Aurora
 Miranda-Maese, has filed monthly interim reports during the pendency of the national health emergency
 related to the COVID-19 pandemic. The reports addressed the six original Court ordered topics and
 additional requirements as directed by the Court. At the May 7, 2021 status hearing, the Court issued a
 new Order, which modified the ORR Juvenile Coordinator’s report to include topics as detailed by the
 Court below. At the last Court hearing on September 17, 2021, the Court ordered the same topics for
 reporting as in the Court’s previous Order, with some additional topics added for this report. This report
 covers the period from September 1, 2021 to October 15, 2021.

     1) The census of minors in each of the agency’s facilities.

     2) An explanation for why some existing beds in licensed facilities and Influx Care Facilities are
        unoccupied, given the sizeable numbers of tender-age minors who are being held for extended
        periods in the EIS’.

     3) The average length of stay for minors in the agency’s facilities and for minors who have been
        released, with more details as to methodology to assist the Court and the parties in tracking these
        metrics

     4) Whether the Juvenile Coordinator has adequate personnel or other capacity to provide detailed
        monitoring of new or expanded facilities.

     5) Case management services at each facility.

     6) Minors’ access to counsel in general, and to the Legal Services Providers Amici Curiae in particular.

     7) Census of minors in an EIS for more than 20 days and those minors’ length of stay.

     8) Updates on ORR’s plans to improve case management and expedite release of minors.

     9) Updates on ORR’s plans, if any, to expand capacity, particularly of licensed shelter beds.

     10) Updates on ORR’s plans, if any, with respect to long-term use of EIS’ and processes to transfer
         minors from EIS’ into licensed facilities, if release to a sponsor is not feasible.

     11) The number of minors currently testing positive for COVID-19.

     12) Updates on ORR policies regarding the use of EIS’, including policies and procedures to address
         COVID-19.

                                                      1
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 3 of 17 Page ID
                                 #:45858
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 4 of 17 Page ID
                                 #:45859
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 5 of 17 Page ID
                                 #:45860
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 6 of 17 Page ID
                                 #:45861
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 7 of 17 Page ID
                                 #:45862
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 8 of 17 Page ID
                                 #:45863
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 9 of 17 Page ID
                                 #:45864
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 10 of 17 Page ID
                                 #:45865


  8) Updates on ORR’s plans to improve case management and expedite release of minors.

  On March 22, 2021, ORR issued guidance for the expedited release of eligible Category 1 cases (see ORR
  Field Guidance #10, Expedited Release for Eligible Category One Cases). ORR has prepared this field
  guidance to best serve minors in ORR custody who have parents or other potential Category 1 sponsors
  in the United States. Based on this guidance, a minor may be released on an expedited basis to their
  sponsor provided that the following conditions are met:

         If the child is screened and determined not to be especially vulnerable;

         If the child is not subject to a mandatory TVPRA home study; and

         If there are no other red flags present in the case (i.e. abuse or neglect)

  In cases where expedited release is appropriate, ORR authorizes care providers to pay for the sponsor’s
  travel to the ORR care provider facility to pick up the minor and complete paperwork at the facility (if
  allowed). Travel arrangements should be made as soon as it appears that the minor’s release is viable.

  Additionally, ORR issued further guidance on May 14, 2021 for the expedited release of eligible minors
  (see ORR Field Guidance #15, Release of Eligible Non-Sibling, Closely Related Children to a Category 1 or
  Category 2A Sponsor). ORR prioritizes the placement of minors with parents, legal guardians, and close
  relatives who are available to provide custody in the United States. To that end, ORR instituted a revised
  policy for groups of closely related minors, which allows for the following:

         Expedited Release Procedures for Eligible Category 1 Cases to apply to a related child for whom
          the same sponsor serves as a Category 2 sponsor; and

         Category 2A background check requirements to apply to a related child for whom the same
          sponsor serves as a Category 2B sponsor

  Under this policy, certain minors will be released to their parents or legal guardians (or Category 2A
  sponsors) using specialized procedures that modify standard release requirements under the ORR Policy
  Guide. In recognition of operational flexibilities that may require additional follow up, this Field Guidance
  may be further modified by ORR.


  9) Updates on ORR’s plans, if any, to expand capacity, particularly of licensed shelter beds.

  ORR’s current permanent licensed capacity is constrained by the unprecedented increase of minors
  referred to ORR. Recognizing that most of these licensed facilities are near full capacity, ORR is reviewing
  new proposals offering additional licensed programs, and continues to accept recipient initiated
  supplemental requests for programs who can add additional capacity to existing programs. Also, current
  programs are exploring additional licensed facilities within their organizations. ORR is currently finalizing
  a Notice of Funding Opportunity which will add additional capacity through new grants to the shelter/TFC
  network.




                                                        9
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 11 of 17 Page ID
                                 #:45866
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 12 of 17 Page ID
                                 #:45867


  challenges to hiring and retention remain, thereby reducing competition for the limited pool of child-care
  staff and other personnel.

  10) Updates on ORR’s plans, if any, with respect to long-term use of EIS’ and processes to
      transfer minors from EIS’ into licensed facilities, if release to a sponsor is not feasible.

  On June 21, 2021, ORR issued guidance for the expansion of long-term foster care eligibility (see ORR Field
  Guidance #18, Expansion of Long-Term Foster Care Eligibility). ORR has prepared this field guidance in an
  effort to expand eligibility for long-term foster care (LTFC) for certain Category 4 minors. Under this Field
  Guidance, minors meeting the following conditions are eligible for LTFC:

         Is a Category 4 case and remains without sponsor or potential sponsorship options;

         Is currently placed in a state-licensed ORR care provider shelter (specifically a congregate care
          setting); and,

         Is not otherwise ineligible for LTFC under ORR Policy Guide Section 1.2.61 due to a moderate or
          high escape risk; criminal history or concerns about dangerousness; or the minor is seeking
          voluntary departure.

  In response to the influx of minors arriving at the border, ORR has continued to dedicate its focus to
  addressing the placement delays from CBP custody to ORR custody. Placement delays have significantly
  reduced, and ORR remains focused on addressing minors with lengthy LOS at EIS and licensed facilities.
  These efforts include continuing assessments of methods of expediting release, transfer of minors to
  licensed facilities when release is not imminent and encouraging the expansion of licensed care facilities.
  ORR’s efforts are flexible and dynamic as the situation requires readjustments in real time as new concerns
  emerge and issues change.

  In addition, ORR is working with other agencies, establishing collaborative relationships with Customs and
  Border Patrol (CBP) and the Federal Emergency Management Agency (FEMA) to ensure that
  unaccompanied migrant minors are safe and unified with family members or other suitable sponsors as
  quickly and safely as possible.


                                          COVID-19 in ORR Facilities

  As of October 13, 2021, there are a total of 167 minors in ORR custody in licensed shelters who have been
  diagnosed with COVID-19 and who are currently in medical isolation. One hundred and sixty-six (166) of
  these minors were diagnosed with COVID-19 either prior to placement in ORR facilities or during the initial
  intake period (first 14 days), and one (1) minor likely acquired COVID-19 while in ORR facilities (more than
  14 days after arrival). Minors who test positive for SARS-CoV-2 more than 14 days (the maximum
  incubation period for SARS-CoV-2) after being admitted to ORR care were likely infected while in ORR
  care, through contact with infected staff members or other minors, or in community settings within the
  facility or medical office visits. It is often not possible to determine the exact timing and source of infection
  because many minors are asymptomatic and because a person who has recovered from COVID-19 may
  continue to have a positive test result for several weeks after illness.

                                                         11
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 13 of 17 Page ID
                                 #:45868


  ORR usually places minors newly referred along the Southwest Border into shelters local to the site of
  referral. On March 13, 2021, ORR issued guidance (COVID-19: Interim Guidance for Shortening Quarantine
  Duration and Increasing Testing for ORR Facilities) that now recommends minors be quarantined for seven
  days. Minors are released from quarantine if they remain asymptomatic and test negative both on entry
  to the program and within 48 hours before the end of their quarantine period. To decrease overcrowding
  at CBP facilities, shortening the quarantine period to seven days with a negative test result is advised
  based on CDC recommendations at all ORR facilities.

  According to the revised ORR guidance issued on March 13, 2021, contact tracing should begin
  immediately if anyone tests positive for COVID-19. Minors who test positive for COVID-19 will be isolated
  until they meet the criteria to discontinue isolation. Minors exposed to COVID-19 shall be quarantined
  for seven days and tested by the 5th, 6th or 7th day of their quarantine. Minors will be released from
  quarantine upon receiving a negative test result.

  Since the beginning of the pandemic, more than 204,593 COVID-19 viral tests have been completed
  for the unaccompanied minors in ORR’s program.

  ORR does not require that staff disclose their private medical information as it relates to COVID-19;
  however, some staff voluntarily reported this information. Since collecting information, ORR has been
  notified of 1,744 (cumulative) personnel with positive COVID-19 test results as of October 13, 2021. Staff
  with positive COVID-19 test results are required to medically isolate for at least 10 days. Staff with
  suspected exposure to COVID-19 are required to quarantine for 14 days, or for the time period
  recommended by the local health department. Furthermore, the exposed or infected staff are not
  permitted to have any contact with minors or other staff at the shelters until their quarantine or medical
  isolation periods, respectively, have ended.

  At this time, care provider program staff who are eligible for the COVID-19 vaccine based on the CDC’s
  Advisory Committee on Immunization Practices (ACIP) recommendations and the recommendations of
  their state and local jurisdictions may opt to receive the vaccine, which is now readily available to adults.


  11) The number of minors currently testing positive for COVID-19.

  The Juvenile Coordinator consulted with the Division of Health for Unaccompanied Children (DHUC) to
  determine the likely source of infection for minors who were diagnosed with COVID-19 and are currently
  in medical isolation. Figure 9 below provides the census data for these minors as of October 13, 2021.




                                                       12
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 14 of 17 Page ID
                                 #:45869
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 15 of 17 Page ID
                                 #:45870
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 16 of 17 Page ID
                                 #:45871


  *As reflected in Figure 10 above, there are currently no Southwest Border minors residing at Starr
  Commonwealth EIS; therefore, the data on COVID-19 positive minors is not included in the information
  provided by the CDC on Southwest Border placements.



  12) Updates on ORR policies regarding the use of EIS’, including policies and procedures to
      address COVID-19.

  The CDC and the Southwest Border Migrant Health Task Force (SWBMHTF) is providing technical support
  and guidance to Emergency Intake Sites (EIS) on COVID-19 and communicable disease prevention and
  control. The ORR Division of Health for Unaccompanied Children (DHUC) meets with SWBMHTF several
  times a week to discuss ongoing guidance, developments and to troubleshoot site-specific issues that
  arise.

  SWBMHTF currently recommends the following COVID-19 testing protocol for minors at EIS facilities.
  Specific protocols are adapted to each EIS as necessary to work within any resource constraints. Prior to
  a minor being transported to an EIS they are tested for COVID-19. On day 3, and days 5, 6, and 7 minors
  are tested at EIS facilities utilizing the rapid antigen test and are tested every three days thereafter. Also,
  a minor is immediately tested if symptoms of COVID-19 develop.

  Minors are required to quarantine for the first 7 days after admission to an EIS and can be released from
  quarantine on the morning of day 8 if they remained asymptomatic and had a negative COVID-19 test in
  the 48 hours prior. Minors that test positive for COVID-19 are required to be isolated for 10 days from the
  date the positive test was collected, or 10 days from the date of symptom onset if symptomatic.

  EIS facilities are required to report positive and negative COVID-19 rapid antigen test results to the local
  health department. CDC SWBMHTF collects aggregate, non-identifiable positive COVID-19 test results for
  each EIS and reports them to ORR. EIS facilities are also required to complete the “Emergency Intake Site
  (EIS) Discharge and Transfer Record of Public Health and Medical Information” form for all minors
  discharged from an EIS. This form accompanies the minor to their final destination to ensure medical
  services are complete and not duplicated. Medical contractors provide public health and medical care at
  each EIS facility. The specific contractor at each facility varies. Medical contractors are required to adhere
  to all of the above requirements.


                                 COVID-19 Plans on Vaccine Distribution

  On March 2, 2021, the President directed all states to prioritize school staff and childcare workers for
  COVID-19 vaccination, and is encouraging them to get teachers, school staff, and workers in childcare
  programs their first shot by the end of March. The Department of Health and Human Services has
  determined that staff in organizations caring for minors through the Unaccompanied Refugee Minors
  (URM) Program and Unaccompanied Children (UC) Care Provider Organizations are eligible for vaccination
  through this directive as childcare workers.




                                                        15
Case 2:85-cv-04544-DMG-AGR Document 1192-2 Filed 10/29/21 Page 17 of 17 Page ID
                                 #:45872


  The Pfizer-BioNTech COVID-19 vaccine had previously been authorized for use in persons aged 16 years
  and older. On May 12, 2021, ACIP made an interim recommendation for use of the Pfizer-
  BioNTech COVID-19 vaccine in adolescents aged 12–17 years for the prevention of COVID-19. Additionally,
  the Pfizer-BioNTech COVID-19 vaccine may now be co-administered with other childhood vaccines. ORR
  is currently monitoring ACIP COVID-19 vaccination recommendations, including potential updates to
  expand authorized use for minors ages 5-11 years. ORR will update COVID-19 vaccination guidance for
  the UC Program as new ACIP recommendations for pediatric populations are released.

  As of October 13, 2021, 36,925 (cumulative) minors in ORR care have received the first dose of the COVID-
  19 vaccine, and 5,835 (cumulative) minors have received a second dose.

  Under revised guidance issued by ORR on June 10, 2021, all age-eligible minors at licensed ORR care
  provider programs, ICF and EIS should receive the COVID-19 vaccine (see ORR Field Guidance #17, COVID-
  19 Vaccination of Unaccompanied Children (UC) in ORR Care). Minors who are newly referred to ORR care
  should receive the COVID-19 vaccine as part of their initial medical exam (IME) or modified health
  assessment (MHA). Minors who are in ORR care and have already completed their IME or MHA should be
  vaccinated as soon as possible, as long as vaccination does not delay reunification.


                                                   Summary

  The undersigned respectfully submits this report to the Court pursuant to the Court Order dated
  September 17, 2021. The undersigned will continue to work independently and with the Special Master
  and will continue to file interim reports per the Court’s directive to monitor facilities to assure compliance
  with CDC guidance and adherence to ORR guidelines.




                                                       16
